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                             United States District Courts
                                         WESTERN DISTRICT OF TEXAS

United States of America                                                  WARRANT FOR ARREST

v.
                                                            Case Number:
(1) Javier Burgos-Salvador                                  DR:22-M -01475(1)



To: The United States Marshal
    and any Authorized United States Officer


YOU ARE HEREBY COMMANDED to arrest                                         (1) Javier Burgos-Salvador
                                                                                        Name

and bring him or her forthwith to the nearest magistrate to answer a(n)

     Indictment      Information       X Complaint    Order of Court     Violation Notice      Probation Violation Petition

charging him or her with (brief description)

The defendant, Javier BURGOS-Salvador, was arrested by Border Patrol Agents, on June 21, 2022 for
being an alien illegally present in the United States. Investigation and records of the Bureau of Citizenship
and Immigration Services reveal the defendant was previously deported from the United States on
01/27/2021 through Hidalgo, Tx. The defendant was found in the Western District of Texas without having
obtained permission from the Secretary of Homeland Security or the Attorney General of the United States
to re-apply for admission after being deported. The defendant is unlawfully present in the United States.


in violation of Title              8             United States Code, Section(s)      1326(a)(1)


VICTOR ROBERTO GARCIA                                             UNITED STATES MAGISTRATE JUDGE
Name of Issuing Officer                                           Title of Issuing Officer




______________________________                                    June, 23, 2022 DEL RIO, Texas
Signature of Issuing Officer                                      Date and Location



Bail Fixed at $                                        by
                                                                  Name of Judicial Officer


                                                 RETURN
This warrant was received and executed with the arrest of the above-name defendant at DEL RIO, Texas.
Date Received              Name and Title of Arresting Officer    Signature of Arresting Officer
      June 23, 2022
Date of Arrest             Melton, Lance T.
      June 21, 2022        Border Patrol Agent
